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 7
      Attorneys for Plaintiff,
      MIA LABOWITZ
 8                            UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA

10    Mia Labowitz,                                Case No.: 2:20-cv-06407-DSF-SK
11
                     Plaintiff,
12
            vs.                                    JOINT STIPULATION FOR
13                                                 DISMISSAL WITH PREJUDICE OF
      LLW Sunset LLC, a California Limited
      Liability Company; Rambutan Thai, a          ALL DEFENDANTS
14
      California Corporation d/b/a/ Same Same
15    Thai; and Does 1-10,
16                   Defendants.
                                                   [Fed. R. Civ. P. Rule 41(a)(2)]
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            IT IS HEREBY STIPULATED by and between the Plaintiff Mia Labowitz

22    on the one hand, and Defendants LLW Sunset LLC, a California Limited Liability
23    Company; Rambutan Thai, a California Corporation d/b/a/ Same Same Thai, on
24    the other hand, by themselves and/or through their respective attorneys of record
25    that, pursuant to Federal Rules of Civil Procedure, Rule 41 (a)(1) and (2), this
26    Court enter a dismissal with prejudice of Defendants LLW Sunset LLC, a
27    California Limited Liability Company; Rambutan Thai, a California Corporation
28
                  JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL DEFENDANTS
     Case 2:20-cv-06407-DSF-SK Document 20 Filed 09/24/20 Page 2 of 3 Page ID #:110



 1    d/b/a/ Same Same Thai, from Plaintiff’s Complaint, Case Number 2:20-cv-06407-
 2    DSF-SK. The parties herein reached settlement of the present action.
 3
            Since no Defendants shall remain in this action, Plaintiffs request that
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      Plaintiff’s Complaint be dismissed with prejudice in its entirety. Each party will be
 5
      responsible for their own fees and costs.
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      IT IS SO STIPULATED.
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11    Dated: September 23, 2020
                                        THE LAW OFFICE OF HAKIMI &
12
                                        SHAHRIARI
13

14

15                                      By: /s/Anoush Hakimi
16
                                            Anoush Hakimi, Esq.
                                            Attorneys for Plaintiff, Mia Labowitz
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20    Dated: September 23, 2020         COUNSELOR & ADVOCATE AT LAW
21

22                                      By: /s/James S. Link
23
                                            James S. Link, Esq.
                                            Attorneys for Defendants,
24                                          LLW Sunset LLC; Rambutan Thai, a
25                                          California Corporation d/b/a/ Same Same
                                            Thai;
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               JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL DEFENDANTS
     Case 2:20-cv-06407-DSF-SK Document 20 Filed 09/24/20 Page 3 of 3 Page ID #:111



 1

 2                                 SIGNATURE ATTESTATION
 3
                I hereby attest that all signatories listed above, on whose behalf this
 4
      stipulation is submitted, concur in the filing's content and have authorized the
 5
      filing.
 6

 7
                                                               ANOUSH HAKIMI
 8

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10                                                       /s/ Anoush Hakimi
                                                   By: Anoush Hakimi
11
                                                   Attorney for Plaintiff Mia Labowitz
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                   JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL DEFENDANTS
